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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO a:
EASTERN DIVISION

HEATHER BOTTUM, Case No.
c/o Friedman & Gilbert
50 Public Square, Ste 1900 Judge
Cleveland, OH 44113

Plaintiff,
COMPLAINT
-“VS-
JURY TRIAL DEMANDED
CUYAHOGA COUNTY,

FEBEN YESHAK,

MATT SCHWARTZ,

WARDEN ERIC IVEY,

NURSE COOPER,

RONITA SANDIFER,

CPL. WALSH,

FREDERICK BARTHANY,

BARRY HICKERSON,

PHILLIP CHRISTOPHER,

ROBERT MOORE,

DERRICK KENDALL,

C.O. CARDWELL,

MICHAEL SHAW,

JERMAINE CLEMENTS,

S.R.T. C.O. SMITH,

CPL. BRUNELLO,

WILLIAM WINKEL,

JAMES SPIRAKUS, AND

NURSE JONES

c/o Cuyahoga County Law Department
2079 East 9" Street,

Cleveland, Ohio 44115,

Defendants.

 

 
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INTRODUCTION

1. This is a civil rights action. This case seeks damages arising out of trauma and
injuries suffered by Plaintiff Heather Bottum while in the custody of Cuyahoga County in February
and March 2018.

2. When she entered the Cuyahoga County Jail as a pretrial detainee, Plaintiff Heather
Bottum was in a very vulnerable state, living with serious mental health issues and related needs.
Heather desperately needed quality mental health treatment and appropriate support. Heather
Bottum’s mental illness renders her disabled.

3. Rather than protect Heather Bottum while in their care and custody, Cuyahoga
County Jail staff subjected her to various abuses—including assaults at the hands of correctional
officers, discriminatory use of solitary confinement, and retaliatory use of restraint chairs—in
violation of her constitutional rights. Correctional staff abused Heather and used retaliatory
discipline against her even though her mental health crisis was obvious and documented. Heather
was discriminated against, and was excluded from participation in and denied the benefits of
services, programs, and activities in the Cuyahoga County Jail because of her psychiatric
disability.

4, As a result, Heather Bottum suffered and continues to suffer severe injuries, which
are the result of Defendants’ unconstitutional, willful, wanton, and/or reckless conduct.

5. The Cuyahoga County Jail, also known as the Cuyahoga County Corrections Center
(CCCC), operates under a state of constant crisis, endangering the health and safety of
Detainees/Inmates and staff alike on a daily basis. CCCC is underfunded, understaffed, poorly
administered, and intentionally overcrowded, giving rise to a chaotic and perilous environment

inside the jail walls. Detainees and Inmates, including Heather Bottum, are subjected to ongoing

 
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patterns of unconstitutional conditions of confinement within CCCC, including violations of the
Fourth, Eighth, and Fourteenth Amendments to the United States Constitution, the Americans with
Disabilities Act (ADA), and the Rehabilitation Act. Defendants have long been on notice of the
horrific conditions and constitutional deprivations occurring daily at CCCC, yet have failed to
timely or effectively remedy the deplorable state of affairs.

6. Defendant Cuyahoga County is also liable for the damages suffered by Heather
Bottum. Cuyahoga County’s unconstitutional policies, practices, and customs in place at the time
of these incidents are the moving force behind the misconduct committed by Defendants.

JURISDICTION AND VENUE

7. This action arises under the laws of the United States, and jurisdiction is conferred
on this Court under the Constitution of the United States; the Civil Rights Act (42 U.S.C §1983,
et seq.); 28 U.S.C. § 1331 (federal question); 28 U.S.C. § 1343 (civil rights); 42 U.S.C. § 12131
(the “Americans with Disabilities Act”); §504 of the Rehabilitation Act of 1973; and 29 U.S.C. §
794,

8. Supplemental jurisdiction over Plaintiffs related state law claims is invoked
pursuant to 28 U.S.C. §1367.

9, Venue in the Northern District of Ohio is proper under 28 U.S.C. § 1391(b),
because it is the district in which many if not ali of the defendants reside, and because a substantial
part of the events or omissions giving rise to the claims occurred within this judicial district.

PARTIES
10. Plaintiff Heather Bottum is a citizen of the United States and of the State of Ohio,

and a resident of Cuyahoga County.

 

 
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11. Defendant Cuyahoga County (“the County”) was and is a political subdivision and
unit of local government duly organized under the laws of the State of Ohio residing in the
Northern District of Ohio acting under the color of law. Defendant Cuyahoga County is a “person”
under 42 U.S.C. § 1983. Defendant Cuyahoga County is the employer and principal of Defendants
Yeshak, Schwartz, Ivey, Cooper, Sandifer, Walsh, Barthany, Hickerson, Christopher, Moore,
Kendall, Cardwell, Shaw, Clements, Smith, Brunello, Jones, Winkel, and Spirakus and is
responsible for the policies, practices, and customs of the Cuyahoga County Corrections Center
“CCCC”).

12. Defendant Cuyahoga County is responsible for ensuring that all of its facilities,
including CCCC, are in compliance with federal and state law, department or agency policies,
rules, and regulations, and related standards of care.

13. Defendant Cuyahoga County is a public entity within the meaning of Title I of the
Americans with Disabilities Act, 42 U.S.C. § 121311).

14. Defendants Correctional Officer Feben Yeshak, Corporal Matt Schwartz, Warden
Eric Ivey, Correctional Officer Ronita Sandifer, Corporal Walsh, Correctional Officer Frederick
Barthany, Correctional Officer Barry Hickerson, Sergeant Phillip Christopher, Corporal Robert
Moore, Correctional Officer Derrick Kendall, Correctional Officer Cardwell, Correctional Officer
Michael Shaw, Correctional Officer Jermaine Clements, Special Response Team Correctional
Officer Smith, Corporal Brunello, Correctional Officer William Winkel, and Correctional Officer
James Spirakus were, at all times relevant to the allegations made in this complaint, duly-appointed
correctional officers employed by Cuyahoga County, acting within the scope of their employment

and under the color of state law. They are sued in their individual capacities.

 

 
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15. | Nurses Cooper and Jones were, at all times relevant to the allegations made in this
complaint, nurses in CCCC and was agents of Cuyahoga County, acting within the scope of their
employment and under the color of state law. They are sued in their individual capacities.

16.  Atall times relevant hereto and in all their actions described herein, the Defendants
acted under color of law and pursuant to their authority.

17. Atall times relevant hereto and in all their actions described herein, the Defendants
acted within the scope of their employment and in the performance of their official duties.

FACTS

18. Heather Bottum, who is 47 years old, is a member of a tight-knit family, including
her sister and father, and is the mother of one son.

19. Heather struggles with serious mental illness. Her struggle has gone on for some
years and she has at times suffered from psychosis and been found legally incompetent. Heather’s
family is supportive and loving, and she continues to work toward stability and wellness.

20. However, while in the midst of mental health crisis in early 2018, Heather was held
as a pretrial detainee in the custody of Cuyahoga County.

21. While in the County’s custody, Heather Bottum was subjected to discriminatory
and unconstitutional use of solitary confinement, multiple physical assaults, and retaliatory use of
the restraint chair, among other constitutional violations and misconduct. Those events and
relevant circumstances are as follows:

February 8, 2018
22. On January 30, 2018, Heather Bottom was in the custody the City of Lakewood,

having been arrested by Lakewood police. While in custody, with Heather in the midst of mental

 
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health crisis, Lakewood officers alleged that Heather committed the crime of “Harassment by an
Inmate.”

23. The case was submitted to the Cuyahoga County Grand Jury, On February 7, 2018,
the Grand Jury indicted Heather for “Harassment by Inmate” in violation of Ohio Rev. Code. §
2921 .38(A).

24. On February 8, 2018, Heather was transferred by the Lakewood Police and booked
into the Cuyahoga County Jail (also known as the Cuyahoga County Corrections Center,
hereinafter “CCCC”).

25. Defendants Correctional Officers Feben Yeshak and Matt Schwartz conducting
intake were briefed that Heather required a mental health screening upon intake because of her
apparent serious mental health issues.

26. Defendants transported Heather to the medical unit for her intake screening, and
then to the Mental Health Unit for an evaluation.

27. | Heather, who was in a mental health crisis at the time, exchanged words with
medical staff.

28. Nurse Cooper cleared Heather to be placed in general population. Cooper then
determined that Heather should be placed in lockup—or solitary confinement—saying that she did
not like Heather’s attitude.

29. Defendant Yeshak prepared to escort Heather to Pod 4F in Jail 1.

30. Heather tried to report that she had bruises on her body from being in custody at
Lakewood. Defendants refused to document her injuries.

31. Defendant Schwartz placed Heather in handcuffs and gave her verbal commands to

settle down. Defendant Schwartz reported that Heather complied with those orders.

 

 
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32. Heather was afraid and felt that Defendant Yeshak was being aggressive and asked
for Defendant Corporal Schwartz to follow them to document the escort.

33.  Yeshak and Schwartz began to escort her to her pod.

34. As Yeshak held onto Heather and escorted Heather through CCCC and approached
4F Pod, Heather was upset and complained about the correctional staff's failure to document her
bruises.

35. Defendant Yeshak yanked up on Heather’s handcuffs and slammed her into the
glass wall of a “bullpen” holding cell they were passing.

36. This assault is documented by both Yeshak and Schwartz in their combination
reports dated February 8, 2018.

37. Defendant Schwartz, who was present during this assault, failed to prevent Yeshak
from slamming Heather into the glass. Defendant Schwartz failed to intervene to prevent this
excessive force event though he both observed or had reason to know excessive force was being
used and had the opportunity and the means to prevent it.

38. Heather suffered pain and injury as a result of this excessive force event. Her neck,
upper back, and right side was injured, and remain affected today.

39. Yeshak and Schwartz did not stop to see if Heather was okay. They forced Heather
to keep walking.

40. Heather was upset and shaken by Yeshak’s assault, and upon entering her cell in
the Mental Health Unit, she yelled at the officers.

4], Schwartz ordered Heather to be placed in a restraint chair. He said, “Lock her up
and never let her out.”

42. Schwartz reported that Heather was ultimately secured without further incident.

 

 

 
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43. | Though there was no further incident, Heather remained in the restraint chair for
approximately two and one-half hours—causing her physical and emotional pain and suffering—
until Mental Health Unit Nurse Lagreca evaluated and removed Heather from the chair.

44. There was no lawful basis to use the restraint chair under these circumstances, and
its use was punitive, retaliatory, and discriminatory on the basis of Heather’s disability, and
constitutes excessive force. There was no need to maintain or restore order nor any need to prevent
Heather from harming herself or others.

45. Heather was then placed in solitary confinement per Nurse Cooper’s instruction
and as ratified by Defendant Warden Eric Ivey. Warden Ivey ordered Heather to be placed in
solitary confinement for five days. Heather was placed in isolation without a hearing. Her access
to visits, mail, and calls with friends and family were terminated during this period. In addition,
she was barred from all recreation activities and from accessing commissary purchases other than
hygiene items.

46, This use of solitary confinement was discriminatory and used in response to
Heather’s disability, constituted unconstitutional conditions of confinement, was a violation of
Heather’s right to due process, is a well-known cause of psychic decompensation, and caused
Heather to suffer psychic and emotional injury.

47, Upon information and belief, no investigation was conducted and no discipline was
issued to Defendants Yeshak, Schwartz, Cooper, or Ivey for their misconduct.

48. Following this event, Heather was placed in segregated housing without due
process, Heather’s access to visits, mail, and calls with friends and family were terminated during
this period. In addition, she was barred from all recreation activities and from accessing

commissary purchases other than hygiene items.

 
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49. This use of solitary confinement was discriminatory and used in response to
Heather’s disability, constituted unconstitutional conditions of confinement, was a violation of
Heather’s right to due process, is a well-known cause of psychic decompensation, and caused
Heather to suffer psychic and emotional injury.

February 20, 2018

50. On February 20, 2018, Heather remained in mental health crisis and therefore
remained disabled. She had been without her proper medication for some time, and was delusional
and talking to herself in her cell, She required adequate accommodations in light of her psychiatric
disability.

51. Correctional staff arrived outside her cell. The cell block was quiet. At that time,
Heather was not audible nor disrupting any activity in CCCC. There were no indications of injury-
to-self conduct occurring inside her cell.

52. Nonetheless, a correctional officer read out a form, stating that Heather would be
placed in a restraint chair for “spitting on her door” and “loud, disruptive, abusive language.”

53. Defendants Correctional Officer Ronita Sandifer and Corporal Walsh had decided
that Heather should be placed in a restraint chair.

54. However, contradicting these claims and justifications for the use of the restraint
chair, when correctional staff including Sandifer and Walsh opened or were present for the opening
of her cell door, Heather was silent and compliant. She exited the cell without issue.

55. Defendants Correctional Officers Frederick Barthany and Barry Hickerson placed
Heather in a restraint chair. Heather was compliant as they strapped her in and did not engage in

any conduct indicating risk of harm to herself or others.

 

 
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56. Heather was placed in a restraint chair on this occasion for “acting out and saying
very mean things” toward Correctional Officers Ronita Sandifer and Corporal Walsh.

57. Clearly delusional, Heather was nonetheless compliant and spoke to officers calmly
as they restrained her and began to wheel her away.

58. There was no lawful basis to use the restraint chair under these circumstances, and
its use was punitive, retaliatory, and discriminatory on the basis of Heather’s disability, and
constitutes excessive force. There was no need to maintain or restore order nor any need to prevent
Heather from harming herself or others.

59. Multiple officers—including Barthany, Hickerson, Sandifer, Walsh, and others—
were present during this event and observed or had reason to know excessive force would be used.
None of them intervened to prevent this use of excessive force despite having the opportunity and
means to do so.

60. Upon information and belief, no investigation was conducted and no discipline was
issued to Defendants Sandifer, Waish, Barthany, or Hickerson for their misconduct.

61. | Heather remained in the restraint chair for approximately six and one-half hours.
While she was restrained, a correctional officer used excessive force and pulled her hair and
officers harassed Heather and tried to instigate Heather to lash out, causing her to suffer physical
and emotional pain and suffering.

February 21, 2018

62. On February 21, 2018, as part of the pending case against Heather and based on
interactions with Heather, Dr. Joy Stankowski evaluated Heather’s psychiatric state and issued a
report concerning her mental illness and competence. Dr. Stankowski found that Heather’s mental

state rendered her incompetent to stand trial.

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63. Also on this date, without a hearing and in response to her alleged conduct the day
before, and in addition to the unjustifiable use of the restraint chair, Heather was sentenced to
twenty days in isolation by Sergeant Christopher. Christopher deemed her conduct as violating
CCCC rules concerning “disorderly conduct/refuse orders in emergency” and “major disruptive
conduct.” Her access to visits, mail, and calls with friends and family were terminated during this
period, In addition, she was barred from all recreation activities and from accessing commissary
purchases other than hygiene items.

64. This use of solitary confinement was discriminatory and used in response to
Heather’s disability, constituted unconstitutional conditions of confinement, was a violation of
Heather’s right to due process, is a well-known cause of psychic decompensation, and caused
Heather to suffer psychic and emotional injury.

65. Upon information and belief, no investigation was conducted and no discipline was
issued to Defendant Christopher for his misconduct.

March 9, 2018

66. On March 9, 2018, Heather was told by correctional officers to get ready for a visit
with her attorney.

67. | Heather remained in a decompensated mental state on that date and had a right to
adequate accommodations for her psychiatric disability.

68. Defendant Corporal Robert Moore handcuffed Heather. As Moore cuffed her,
Heather was upset that she was not receiving medical care for the injuries she sustained in the
assault on her first day in the Jail. She began yelling and cursing at him. She used racist language
and called him the N-word.

69. Defendant Moore ordered Heather to stop talking.

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70. Defendant Moore squeezed on Heather’s arm as hard as he could and caused her
serious harm, leaving a large bruise, constituting excessive force.

71. Defendants Moore and Officer Derrick Kendall placed Heather into a restraint
chair, Kendall had the opportunity and means to prevent this use of force and failed to do so.

72. Heather was kept in the restraint chair for approximately three hours.

73, There was no lawful basis to use the restraint chair under these circumstances, and
its use was punitive, retaliatory, and discriminatory on the basis of Heather’s disability, and
constitutes excessive force. There was no need to maintain or restore order nor any need to prevent
Heather from harming herself or others.

74, This use of the restraint chair caused Heather to suffer psychic and emotional pain
and injury.

75. Defendant Moore’s conduct during these events caused Heather to suffer physical
pain and injury.

76. Upon information and belief, no investigation was conducted and no discipline was
issued to Defendants Moore and Kendall for their misconduct.

77. Also on this date, without a hearing, Heather was sentenced to five days in isolation
by Sergeant Christopher. Christopher deemed her conduct as violating CCCC rules concerning

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“refusing a direct order,” “using obscene or abusive language or gestures,” and “major disruptive
conduct.” Her access to visits, mail, and calls with friends and family were terminated during this
period. In addition, she was barred from all recreation activities and from accessing commissary
purchases other than hygiene items.

78. This use of solitary confinement was discriminatory and used in response to

Heather’s disability, constituted unconstitutional conditions of confinement, was a violation of

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Heather’s right to due process, is a well-known cause of psychic decompensation, and caused
Heather to suffer psychic and emotional injury.

79. Upon information and belief, no investigation was conducted and no discipline was

issued to Defendant Christopher for his misconduct.
March 13, 2018

80. On March 13, 2018, without a hearing, Heather was sentenced to five days in
isolation by Sergeant Christopher. Christopher deemed her conduct as violating CCCC rules
concerning “refusing a direct order,” “major disruptive conduct,” and “hoarding medication.” Her
access to visits, mail, and calls with friends and family were terminated during this period. In
addition, she was barred from all recreation activities and from accessing commissary purchases
other than hygiene items.

81. This use of solitary confinement was discriminatory and used in response to
Heather’s disability, constituted unconstitutional conditions of confinement, was a violation of
Heather’s right to due process, is a well-known cause of psychic decompensation, and caused
Heather to suffer psychic and emotional injury.

March 14, 2018

82. On March 14, 2018, Heather was provided twenty minutes outside of her solitary
confinement cell, Defendant Corporal Robert Moore supervised Heather during this out-of-cell
time.

83. Heather remained in a mental health crisis on that date and had a right to adequate
accommodations for her psychiatric disability.

84. Heather attempted to complete a kite to relay her concerns about treatment in the

Jail, including excessive force.

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85. Heather had a visible, large bruise on her arm on this date.

86. Heather began speaking to Defendant Moore, pointing to her bruise and recalling a
prior assault he committed against her during their last encounter on March 9, 2018. Heather used
racist language, calling Defendant Moore the N-word.

87. Out of fear from the prior use of force incident, Heather asked Correctional Officer
Cardwell to move between her and Defendant Moore because Moore already beat her once.

88. Defendant Moore responded, “You’ve got 2 seconds, otherwise ’'m gonna square
you.

89, Moore ordered Heather back to her cell. Correctional Officer Cardwell, who was
present in the area, retrieved eyeglasses and a pen from Heather.

90. Moore told Heather, who was in the doorway of her cell, to leave her shoes outside
the cell. Heather kicked off one of her shoes. It flew in Moore’s direction and hit him.

91. Moore lunged at Heather, punched her in the stomach, and shoved her into her cell
well, and she hit her head on the wall. He shoved her onto the ground, subduing her.

92. Moore pulled out his OC spray and paused to call out on the radio.

93. Next, though Moore’s body camera is pointing away from Heather, Moore’s body
camera continued to record audio after this assault. Heather cried out in pain.

94. Defendant Moore is next heard saying, “Kick your shoe off in my face!” Then
Moore is heard retaliating by deploying OC spray into Heather’s face, even though she was already
subdued.

95, | Moore continued to spray the OC at Heather’s face until he finally got OC spray in
her eyes, causing her severe pain.

96. Heather screamed in agony. The OC spray was burning her body, face, and eyes.

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97. Defendant Moore then handed his body camera to Correctional Officer Cardwell,
obscuring his actions from that point onward.

98. Defendant Cardwell was present during this entire attack. Defendant Cardwell
failed to intervene to prevent these excessive force events though she both observed or had reason
to know excessive force was being used and had the opportunity and the means to prevent it.

99. Defendant Moore’s uses of force and use of OC spray were retaliatory and
constituted excessive force.

100. Afterward, Defendant Moore remarked, “If you wanna fight, then...,” indicating
his use of excessive force.

101. Heather was placed in a restraint chair by multiple correctional officers, including
Defendants Michael Shaw, Jermaine Clements, Cpl. Bruneilo, and SRT Smith.

102. SRT Smith thrusted Heather’s head back in the chair in an act of excessive force,
causing her pain and suffering.

103. There was no lawful basis to use the restraint chair under these circumstances, and
its use was punitive, retaliatory, and discriminatory on the basis of Heather’s disability, and
constitutes excessive force. There was no need to maintain or restore order nor any need to prevent
Heather from harming herself or others.

104. Afterward, Defendants Shaw, Clements, Brunello, and Smith transported Heather
to the medical unit. On the way there, the OC spray burned Heather’s eyes, face, and body. She
ached from Moore’s assault. Heather repeatedly expressed that she was in severe pain and that she
could not breathe. She begged these Defendants to lean her forward to alleviate the pain and to

allow her to be able to breathe.

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105. Defendants refused to alleviate her pain and instead continued to wheel her,
strapped tightly and in pain to the restraint chair.

106. Defendant Corporal Brunello responded to Heather expressing CCCC policies,
customs, and practices, stating, “Protocol says you have to sit in this chair once you’ve been
sprayed.”

107. Defendants and CCCC employees/agents failed to effectively decontaminate
Heather from the pepper spray.

108. Heather remained in the restraint chair for three and one-half hours.

109. These events all caused Heather to suffer serious physical and emotional pain and
injury. The OC spray caused Heather to be unable to open her eyes for several days. She also
experienced severe pain about her body and head because of Moore’s assault in the cell. She had
a bump on her head for months.

110. Upon information and belief, no investigation was conducted and no discipline was
issued to Defendants Moore, Cardwell, Shaw, Clements, Brunello, or Smith for their misconduct.

111. Also on this date, without a hearing, Heather was sentenced to thirty days in
isolation by Sergeant Christopher. Christopher deemed her conduct as violating CCCC rules
concerning “threating,” “assault,” and “major disruptive conduct.” Her access to visits, mail, and
calls with friends and family were terminated during this period. In addition, she was barred from
all recreation activities and from accessing commissary purchases other than hygiene items.

112. This use of solitary confinement was discriminatory and used in response to
Heather’s disability, constituted unconstitutional conditions of confinement, was a violation of
Heather’s right to due process, is a well-known cause of psychic decompensation, and caused

Heather to suffer psychic and emotional injury.

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March 16, 2018

113. On March 16, 2018, Heather had a pretrial in her pending case. She appeared in
court. Based on her accounts and appearance in court, Judge Michael E. Jackson ordered that
Heather be evaluated and examined for bruises and injuries.

March 21, 2018
114. On March 21, 2018, Heather remained in mental health crisis and therefore
remained disabled. She required adequate accommodations in light of her psychiatric disability.
115. Heather was delusional on this date.
116. Defendant Nurse Jones ordered Heather to be placed in a restraint chair.
117. Defendants Corporal William Winkel and Correctional Officer James Spirakus
restrained Heather in a restraint chair. She remained in the chair for over five hours.

118. There was no lawful basis to use the restraint chair under these circumstances, and
its use was punitive, retaliatory, and discriminatory on the basis of Heather’s disability, and
constitutes excessive force, There was no need to maintain or restore order nor any need to prevent
Heather from harming herself or others.

119. Upon information and belief, no investigation was conducted and no discipline was
issued to Defendants Winkel, Spirakus, or Jones for their misconduct.

Heather Bottum Was Subjected to Discrimination, Denial of Opportunities,
and Rights Violations in CCCC Custody

120. Heather is a qualified person with a disability and is handicapped under the A.D.A.
and Rehabilitation Act.

121. CCCC is subject to the A.D.A. and receives federal financial assistance.

122. Throughout the course of her time in County custody—including but not limited to

the use of solitary confinement, restraint chair use, and disciplinary segregation—Heather was

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denied the opportunity to participate in or benefit from Defendants’ services, programs, and
activities, in which she was otherwise qualified to participate, and was otherwise discriminated
against by Defendants by reason of her disability.

123. Defendants failed to make adequate accommodations for Heather in light of her
disability in the course of the events outlined in this complaint.

124. The repeated use of solitary confinement/isolation was discriminatory and used in
response to Heather’s disability, constitutes unconstitutional conditions of confinement, was a
violation of Heather’s right to due process, is a well-known cause of psychic decompensation, and
caused Heather to suffer psychic and emotional injury.

125. Restrictive housing policies and practices, including solitary confinement and
isolation discriminatorily implemented against Heather without due process, are a proximate cause
of violations of her constitutional rights.

126. The use of solitary confinement/isolation against Heather was unconstitutional and
discriminatory, and was in response to Heather’s disability in the form of mental illness.

127. Heather was denied adequate accommodations for her disability and her housing
assignments in CCCC constituted denial of opportunities to participate in or benefit from CCCC
services, programs, and activities, in which she was otherwise qualified to participate.

128. Defendants’ actions were without probable cause, unjustified, and objectively
unreasonable.

129. In violating Plaintiff Heather Bottum’s Constitutional rights, the individual
Defendants engaged in willful, wanton, reckless, and/or negligent conduct. The individual

Defendants’ conduct was the direct, actual, and proximate cause of Heather’s injuries.

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130. Defendants acted under color of law and deprived Plaintiff of federally protected
rights, in violation of Title 42 U.S.C. §1983.

131. Asadirect and proximate result of Defendants’ conduct, Heather sustained physical
and psychological injuries.

132. The injuries suffered by Heather Bottum were all preventable had Defendants not
engaged in illegal conduct in violation of her fundamental rights.

Unconstitutional Conditions at the Cuyahoga County Corrections Center

133. Defendant Cuyahoga County (“the County’) is responsible for the Cuyahoga
County Corrections Center (CCCC), including the care and treatment of Detainees/Inmates—like
Heather Bottum—in custody therein. The County is required to ensure that the policies, practices,
and customs of the CCCC comply with federal and Ohio law concerning the treatment of persons
in custody.

134. Unconstitutional and deplorable conditions in the CCCC are a historic problem.
Defendants have long been on notice of—and have even taken action to worsen—these conditions,
and have long been on notice of the incompetent supervision and management of the CCCC,

135. The CCCC has been subjected to federal court monitoring at least twice in response
to unconstitutional conditions of confinement within the jail.

136. The County’s track record of operating the CCCC demonstrates continued
indifference and longstanding, systematically unconstitutional operational procedures.

137. CCCC today operates in complete crisis. Upon information and belief, at least nine
people died in CCCC and over 55 people attempted suicide while in CCCC custody in 2018. The
rates of in-custody deaths, assaults by correctional officers, deprivations of basic human rights,

and safety of Detainees/Inmates and staff alike have all reached emergency levels.

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138.  Detainees/Inmates and their families have raised innumerable concerns and
complaints about deplorable conditions. Some CCCC staff have quit their jobs in protest. Other
stakeholders, including judges in the Cleveland Municipal Court and Cuyahoga Common Pleas
Court, have expressed serious concern over jail conditions and the manner in which the facility is
being operated.

139. As of November 2017, the Ohio Department of Rehabilitation and Corrections’
(ODRC) Bureau of Adult Detention inspection found CCCC was not in compliance with Ohio’s
Minimum Standards for Adult Detention Centers, (ODRC Bureau of Adult Detention Report
attached as Exhibit 1.)

140. Likewise, the Pretrial Justice Institute (PJD found in 2017 that CCCC was
overcrowded. The PJI report found that on average, CCCC has been operating at over 100%
capacity for four of the past five years. (See Pretrial Justice Institute, “Enhancing Pretrial Justice
in Cuyahoga County: Results from a Jail Population Analysis and Judicial Feedback,” September
2017, available at  https:/Amiversity.pretrial.org/HigherLogic/System/DownloadDocument
File.ashx?DocumentFileKey=c4587ef2-84 16-1 8fe-e19d-b188d3691e93 &forceDialog=0.)

141. Further, the Cuyahoga County Bail Task Force found in March 2018 that
Inmates/Detainees remain in CCCC custody for unnecessarily long periods of time.

142. The County has long been on notice of overcrowding and medical and mental health
issues since at least 2017.

143. Further, the United States Marshals Service (USMS) issued a report on November
21, 2018 condemning the conditions in the CCCC. This report documented numerous failings

discovered in USMS’s thorough review of conditions, policies, and practices at CCCC. The report

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concluded that conditions in CCCC are inhumane and dangerous for both Inmates/Detainees and
corrections officers, (USMS Report attached as Exhibit 2).
144. The USMS Report found CCCC deficient in, inter alia:

a. Failure to utilize generally-accepted best practices for Use-of-Force teams to
ensure staff and Detainee/Inmate safety;

b. Failure to tag and label as evidence all video tapes involving use-of-force
incidents;

c. Failure to require all persons involved in use-of-force incidents to complete
written reports;

d. Failure to track the frequency and cumulative length of Restrictive Housing
Unit (RHU) placement;

e. Failure to provide Detainees/Inmates with disabilities with necessary
accommodations, including access to all services and programs such as outside
recreation;

f. Failure to ensure proper certifications by all medical unit staff;

g. Failure to implement a proactive program to discuss and implement
individually-tailored plans for special needs patients which include, but are not
limited to, developmentally disabled individuals, frail/elderly individuals,
individuals with physical impairments, serious mental health needs, and
juveniles;

h. Failure to provide intensive clinical mental health treatment to
Detainees/Inmates with stable conditions who are housed in RHU during the

entirely of their stays in RHU;

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i. Failure to train annually on safety/security/fire/medical procedures and
supervision of offenders.

145. The USMS report found that CCCC is severely overcrowded and identified 96
corrections officer vacancies, indicating severe understaffing. The report states, “as a result of the
high vacancy rate and excessive staff call outs, the CCCCs daily operation is greatly impacted
regarding provision for detainees’/inmates’ basic needs.”

146. The USMS review team also observed correctional officers verbally abusing and
aggressively interacting with Detainees/Inmates, and observed aggressive conduct and abusive,
explicit language directed at Detainees/Inmates by correctional officers.

147. A strong threat of retaliation faces anyone in the custody of Cuyahoga County who
comes forward with information about the conditions at CCCC.

148. The USMS further found that Detainees/Inmates assigned to “No Contact Housing”
ate confined for up to 27 hours at a time, ate denied daily access to showers and recreation, and
are denied toothbrushes, toothpaste, toilet paper, and razors or barbering.

149. The USMS report also found that Inmates/Detainees are subject to up to 30-day
disciplinary isolation without disciplinary hearings in violation of their Fifth and Fourteenth
Amendment Due Process rights.

150. Further, as evidenced in the USMS report and inmates’ and detainees’ accounts
including Heather Bottum—-CCCC is in violation of the Ohio minimum jail standards, as defined
in Ohio Admin. Code § 5120:1-8. These violations include, but are not limited to:

a. Failure to limit use of force to “the amount of force necessary to control a given

situation,” where “in no event is physical force used as punishment”;

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h.

i.

Failure to arrange for all levels of health care, including ongoing mental health
care, and failure to assure quality, accessible, and timely services for inmates;
Failure to ensure that all health and mental health personne! are appropriately
credentialed, with verification of current credentials on file at the facility;
Failure to provide a daily procedure whereby inmates have an opportunity to
report medical and mental health complaints through health-trained personnel,
or for urgent matters, to any jail employee, along with failure to provide a
grievance system for medical and mental health treatment, where daily
complaints and grievances are addressed in a timely manner, recorded and
maintained on file, reviewed daily by a qualified health care personnel and
treatment or follow-up are provided as necessary;

Failure to maintain accurate health/mental health records in written or
electronic format;

Failure to ensure that disciplinary measures do not include corporal punishment
or withholding food;

Failure to implement disciplinary hearings and to afford an opportunity to
appeal disciplinary actions;

Failure to ensure that administrative segregation is not used as a penalty;

Failure to ensure no retaliation by staff for inmate grievances.

151, Compounding these violations, CCCC’s grievance system is broken, leaving

Detainees/Inmates—including Heather Bottum—with no functional avenue to seek redress of their

serious needs and legitimate complaints concerning conditions of confinement and rights

violations, depriving them of due process. Detainees’/Inmates’ complaints, kites, and grievances

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are not delivered and/or go unanswered. Their complaints remain unaddressed, and their suffering
continues unabated.

152. Ultimately, Heather Bottom was abused by CCCC correctional staff in light of and
as a result of these and other deficiencies. Despite her clear need for intensive mental health care
and her obvious psychiatric disability, Heather was repeatediy subjected to retaliatory and
discriminatory uses of force, restraint, and segregated housing,

153. The abuses committed against Heather Bottom as described in this complaint
occurred while the County had notice of the unconstitutional and unlawful conditions of
confinement within the walls of the CCCC,

154. The unconstitutional acts described in this complaint are part of an ongoing pattern
of misconduct within the CCCC by its employees/agents, including, infer alia, unlawful use of
the restraint chair, OC spray, physical excessive force, and segregated housing against, inter alia,
Chantelle Glass, Cortez Tyree, Corrionne Lawrence, Charielle Glaze, Terrence Debose, Michael
Roarty-Nugent, Daniel Ford, Jr., Margaret Jackintell, Antoine Blackshear, Joseph Sawyer, and
countless others.

155. Gary Brack, former Director of Ambulatory Care at CCCC, spoke out against the
conditions at CCCC at a May 2018 Cuyahoga County Council meeting. Brack blamed former
Director of Regional Corrections Kenneth Mills “for meddling in jail healthcare, obstructing the
hiring of nurses and creating an unsafe and environment for staff by scaling back security in the
jail’s medical unit.” (See Adam Ferrise, “Ex-Cuyahoga County Jail Supervisor Subpoenaed to
testify before Grand Jury”, Clevelandcom (Dec. 10, 2018), available at
https://www.cleveland.com/metro/2018/12/ex-cuyahoga-county-jail-medical-supervisor-

subpoenaed-to-testify-before-grand-jury. html.)

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156. Rather than launching an investigation into the medical care crisis at the CCCC, or
investigating whether Mills was fit to continue in the director position, Defendant Budish removed
Gary Brack because Brack was outspoken and critical against Mills.

157. County spokeswoman Mary Louise Madigan characterized this conflict, noting that
“Armond [Budish] did have a meeting at Metro. It was clear that Mr. Brack and the jail director,
Ken Mills, didn’t work well together, and we asked that he not be returned to his position at the
jail.” (See Courtney Astolfi and Adam Ferrise, “Budish Personally Requested Ouster of County
Jail’s Medical Supervisor Who Criticized Jail Administration”, Cleveland.com (Dec. 13, 2018),
available at https://www.cleveland.com/metro/201 8/12/budish-personally-requested-ouster-of-
cuyahoga-county-jails-medical-supervisor-who-criticized-jail-administration-sources-say html.

158. After Brack’s appearance at the May 2018 County Council meeting, at least seven
inmates died in Cuyahoga County’s custody within a span of barely four months, including inmates
likely not receiving proper psychiatric and/or medical care.

159, Though County Executive Armond Budish has publicly stated that CCCC is the
largest mental health provider in Ohio, upon information and belief, at the time Heather Bottom
was in custody, CCCC did not have a staff psychiatrist starting in April 2018 and only one nurse
practitioner administered mental health care 10 hours a day, four days a week. CCCC did not offer
any mental health care for the rest of the time.

160. Lack of adequate staffing of corrections officers further exacerbates the denial of
access to medical and mental health care because there are not sufficient corrections officers to

escort Detainees/Inmates to and from the medical and mental health units.

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161. Atthe time Heather Bottom was in custody, Detainees/Inmates with serious mental
health and medical needs were denied proper care and necessary medication and/or treatment when
they entered CCCC facilities.

162. In May 2018, Marcus Harris, former jail nursing director, stated that he quit his job
at CCCC in January amid inmate safety and ethics concerns. He believes the conditions at CCCC
were so unsafe that “every day when [he] went to work [he] had to wonder if someone was going
to be dead or assaulted.” (See Courtney Astolfi, “Inmates deprived of proper medical care under
Cuyahoga County jail director, former nursing supervisor says,” Cleveland.com (May 31, 2018),
available at https://www.cleveland.com/metro/index.ssf/2018/05/inmates_deprived_of_proper_
med.html.)

CCCC Detainees/Inmates with Disabilities Are Regularly Denied
Necessary Accommodations

163. Defendants incarcerate and serve significant numbers of individuals with
disabilities as that term is defined in the ADA and the Rehabilitation Act, including those with
psychiatric disabilities like Heather Bottum.

164. Defendants routinely fail to provide Detainees/Inmates with accommodations to
ensure equivalent access to programs and services offered at CCCC facilities.

165. Defendants’ failure to accommodate Detainees/Inmates with disabilities not only
denies them access to programs and services, but also puts them at risk of injury or victimization
by other detainees/inmates and by CCCC staff. Moreover, Defendants’ failure to accommodate
Detainees/Inmates with disabilities results in the provision of inadequate health care and the
violation of detainee/inmates’ due process rights.

166. Defendants fail to maintain proper records and tracking regarding identification of

Detainees/Inmates with disabilities and related accommodations. CCCC staff are not adequately

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trained in how to identify and track individuals with disabilities, including mental health
conditions, nor are they trained regarding the provision of adequate accommodations. As a result,
Defendants discriminate against Detainees/Inmates with disabilities by denying them
accommodations, access to CCCC programs, services, and activities, and placing them at risk of
injury or exploitation, or by withdrawing without justification accommodations that have already
been provided.

167. Defendants do not provide an effective or functional grievance system for
Detainees/Inmates with disabilities or a method for Detainees/Inmates with disabilities to mark
their grievance as disability-related.

168. Defendants do not provide Detainees/Inmates with adequate notice of how to
request reasonable accommodations for their disabilities. As a result, Detainees/Inmates with
disabilities are not informed of any specific process for complaining about disability
discrimination or requesting disability accommodations.

169. Defendants lack adequate policies, procedures, practices, training, and supervision
for staff concerning how to respond to Detainees/Inmates with disabilities requesting
accommodations through means other than the grievance process.

170. Further, Defendants place Inmates/Detainees—such as Heather Bottum—with
psychiatric disabilities in isolation and restrictive housing in violation of the ADA.

FIRST CLAIM FOR RELIEF:
42 U.S.C. § 1983 Claim for Unconstitutional Seizure
Against Defendants Yeshak, Schwartz, Sandifer, Walsh, Barthany, Hickerson, Moore,
Kendall, Cardwell, Shaw, Clements, Smith, Brunello, Jones, Winkel, and Spirakus
171. All of the foregoing paragraphs are incorporated as though fully set forth here.

172. The actions of Defendants Yeshak, Schwartz, Sandifer, Walsh, Barthany,

Hickerson, Moore, Cardwell, Shaw, Clements, Smith, Brunello, and other agents/employees of

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CCCC, as alleged in the preceding paragraphs, violated Heather Bottum’s rights under the Fourth
Amendment to the United States Constitution to be secure in her person against unreasonable
seizure, and her right to due process under the Fourteenth Amendment to the United States
Constitution, and caused the injuries alleged in this complaint.

173. Heather Bottum was subjected to the use of excessive force in violation of her
Fourth Amendment rights.

174. Defendants further had the duty and opportunity to intervene to protect Heather
Bottum and to prevent the use of excessive force against her, yet they did nothing to assist her or
prevent the brutality meted out by fellow officers.

175, Defendants’ conduct during and after these uses of force constitutes cruel and
unusual punishment in violation of Heather Bottum’s constitutional rights.

176. Defendants’ actions as alleged in this count of the complaint were the direct and
proximate cause of the constitutional violations set forth above and of Heather Bottum’s injuries.

177. Defendants are jointly and severally liable for this conduct.

SECOND CLAIM FOR RELIEF

42 U.S.C, § 1983 — Fourth and Fourteenth Amendments
Against All Individual Defendants

178. All of the foregoing paragraphs are incorporated as though fully set forth here.

179. The conduct of Defendants and other CCCC employees/agents, as alleged in the
preceding paragraphs, violated the rights guaranteed to Plaintiff Heather Bottum under the Fourth
and Fourteenth Amendments to the United States Constitution, and caused the injuries alleged in
this complaint.

180, The policies, practices, and customs of the CCCC carried out by Defendants as

alleged in the preceding paragraphs violated Plaintiff's basic human rights and dignity, and her

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right to be free from unconstitutional conditions of confinement and cruel and unusual punishment
under the Fourth and Fourteenth Amendments to the United States Constitution.
181. Defendants’ conduct is the direct and proximate cause of the constitutional
violations and injuries to Plaintiff Heather Bottum.
182. Defendants are jointly and severally liable for this conduct.
THIRD CLAIM FOR RELIEF

42 U.S.C. § 1983 - Fifth Amendment
Against Defendants Ivey, Christopher, and Cooper

183. All of the foregoing paragraphs are incorporated as though fully set forth here.

184. The conduct of Defendants Ivey, Christopher, and Cooper and other CCCC
agents/employees, as alleged in the preceding paragraphs, violated the rights guaranteed to
Plaintiff under the Fifth Amendment of the United States Constitution, which protects against the
denial of liberty without due process of law. These violations caused the injuries alleged in this
complaint.

185. Restrictive housing policies and practices without due process are the proximate
cause of violations of Plaintiff's constitutional rights.

186. The CCCC’s grievance system is broken, leaving Detainees/Inmates like Heather
Bottum with no functional avenue to seek redress of their serious needs and legitimate complaints
concerning conditions of confinement and rights violations, depriving them of due process.

187. Defendants caused Plaintiff tremendous mental and emotional anguish and suffering
and is the direct and proximate cause of the constitutional violations and injuries to Plaintiff as set
forth above.

188. Defendants are jointly and severally liable for this conduct.

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FOURTH CLAIM FoR RELIEF
§ 1983 Monell claim-
Against Defendant Cuyahoga County

189. All of the foregoing paragraphs are incorporated as though fully set forth here.

 

190, The actions of the individual Defendants were taken pursuant to one or more
interrelated de facto as well as explicit policies, practices and/or customs of the Defendant
Cuyahoga County, agents, and/or officials.

191, Defendant Cuyahoga County, acting at the levels of official policy, practice, and
custom, with deliberate, callous, conscious and unreasonable indifference to Heather Bottum’s
constitutional rights, authorized, tolerated, and institutionalized the practices and ratified the illegal
conduct herein detailed, and at all times material to this Complaint the Defendant Cuyahoga
County, the Cuyahoga County Corrections Center, its agents, and/or officials had interrelated de
facto policies, practices, and customs which include, inter alia:

a. the failure to properly hire, train, supervise, discipline, transfer, monitor,
counsel and/or otherwise control their correctional officers who engage in
unjustified use of excessive and/or unreasonable force;

b. the implementation of unconstitutional policies—whether written or

unwritten or official or unofficial, practices, and customs for use of force
against inmates/detainees;

c. the failure to properly investigate the use of excessive and unreasonable
force against CCCC inmates/detainees;

d. the failure to properly hire, train, supervise, discipline, transfer, monitor,
counsel and/or otherwise control their correctional officers who engage in
unjustified use of excessive and/or unreasonable force via use of restraint
chairs;

e. the implementation of unconstitutional policies—whether written or
unwritten or official or unofficial, practices, and customs for use of restraint
chairs against inmates/detainees;

f. the failure to properly investigate the use of excessive and unreasonable
force via restraint chair use against CCCC inmates/detainees;

 

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g. the failure to properly hire, train, supervise, discipline, transfer, monitor,
counsel and/or otherwise control their correctional officers who engage in
retaliation;

h. the implementation of unconstitutional policies--whether written or

unwritten or official or unofficial, practices, and customs for retaliation
against inmates/detainees;

i. the failure to properly investigate retaliation against CCCC
inmates/detainees;

j. the failure to properly hire, train, supervise, discipline, transfer, monitor,
counsel and/or otherwise control their correctional officers who engage in
unjustified use of solitary confinement against inmates/detainees,

k. the implementation of unconstitutional policies—whether written or
unwritten or official or unofficial, practices, and customs concerning use of

solitary confinement against inmates/detainees;

lL. the failure to properly investigate the use of solitary confinement against
CCCC inmates/detainees;

m. the code of silence;
n. failing and refusing to correct, discipline, and follow up on deficiencies and

violations noted in uses of force, OC spray, restraint chairs, retaliation, and/or
solitary confinement;

©. possessing knowledge of deficiencies in the policies, practices, customs and
procedures concerning detainees, and approving and/or deliberately turning a blind
eye to these deficiencies.

192. The aforementioned de facto policies, practices, and customs of Cuyahoga County
include acts of excessive use of force, solitary confinement, and other willful, wanton, and/or
reckless behavior leading to harmful consequences to citizens.

193. Cuyahoga County has engaged in little or no meaningful investigation or

disciplinary action in response to the misconduct of its correctional officers, thereby creating a

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culture or climate where CCCC correctional staff can escape accountability for their acts of
misconduct with impunity.

194. This municipal defendant was the moving force behind the conduct of the
individual Defendants in violating Heather Bottum’s constitutional rights.

195. The policy, practice, and custom of a code of silence results in correctional officers
refusing to report instances of misconduct of which they are aware, including the misconduct
described in this complaint, despite their obligation under jail regulations to do so, and also
includes correctional officers either remaining silent or giving false and misleading information
during official investigations in order to protect themselves or fellow officers from internal
discipline, civil liability or criminal charges, in cases where they or their fellow officers have
engaged in misconduct.

196. The de facto policies, practices and customs of failing to hire, train, supervise,
monitor, discipline, transfer, counsel and/or control correctional officer misconduct and the code
of silence are interrelated and exacerbate the effects of each other, to institutionalize lying and
immunize correctional officers from discipline.

197. That the unconstitutional actions of the Defendants as alleged in this complaint
were part and parcel of a widespread CCCC policy, practice, and custom is further established by
the involvement in, and ratification of, these acts by supervisors and County policymakers, as well
as by a wide range of other officials, officers, and divisions of the CCCC.

198. The policies, practices and/or customs alleged in this complaint, separately and
together, are the proximate cause of the injuries to Heather Bottum because Defendants had good

reason to believe that their misconduct would not be revealed or reported by fellow officers or

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their supervisors, and that they were immune from disciplinary action, thereby protecting them
from the consequences of their unconstitutional conduct.

199. But for the belief that they would be protected—both by fellow officers and by
Cuyahoga County—from serious consequences, the Defendants would not have engaged in the
conduct that resulted in the injuries to Heather Bottum.

200. The interrelated policies, practices and customs, as alleged in this complaint,
individually and together, were maintained and implemented with deliberate indifference, and
encouraged and/or caused the Defendants to commit the acts alleged in this complaint against
Heather Bottum and her resulting injuries.

201. Cuyahoga County therefore acted as the moving force behind and was a direct and
proximate cause of the violations of Heather Bottum’s constitutional rights and all injuries and
damages suffered by her.

202. The constitutional violations and damages to Heather Bottum that occurred as
described herein were directly and proximately caused by the unofficial and/or official, tacit and/or
expressed policies, customs, and practices, and otherwise unconstitutional policies of authorized
policy makers of the Defendants.

FIFTH CLAIM FOR RELIEF
ADA and §504 Claim —
Against Defendant Cuyahoga County
203. All of the foregoing paragraphs are incorporated as though fully set forth here.
204. Defendant has been, and is, a recipient of federal funds, and is covered by the

mandate of Section 504 of the 1973 Rehabilitation Act (29 U.S.C. § 794). Section 504 requires

that persons with disabilities be reasonably accommodated in their facilities, program activities,

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and services and reasonably modify such facilities, services, and programs to accomplish this

purpose.

205. Further, Title I] of the Americans with Disabilities Act (42 U.S.C. §§12131-12134)

 

applies to Defendant and has essentially the same mandate as that expressed in §504.
206. The Cuyahoga County Correctional Center is a facility, and its operation comprises

a program and service, for §504 and Title II purposes.

 

207. Defendant Cuyahoga County failed and refused to reasonably accommodate
Heather Bottum’s psychiatric disabilities and to modify their jail facilities, operations, services,
accommodations and programs to reasonably accommodate her disability, in violation of Title IT
of the ADA and/or §504, when she was in their custody.

208. Defendant’s failures cost Heather Bottum her safety and wellbeing, and the
violations of the ADA and/or §504 are the proximate cause of her physical and emotional injures.
SIXTH CLAIM FOR RELIEF
State Law Claim for Negligence - Willful, Wanton and Reckless Conduct
against all Individual Defendants

209. All of the foregoing paragraphs are incorporated as though fuily set forth here.

210. Defendants acted negligently when they violated their duty to exercise due care for
Heather Bottum.

211. Defendants committed the acts alleged in this complaint in a reckless, willful and/or
wanton manner while working as correctional officers at the CCCC.

212. Defendants’ misconduct directly and proximately caused the injuries and damages

suffered by Heather Bottum as described above.

213. Defendants are jointly and severally liable for this conduct.

 

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PRAYER FoR RELIEF

WHEREFORE, Plaintiff demands that judgement be entered in her favor on all counts

and prays the Court award the following relief:

A. Compensatory damages in an amount exceeding the jurisdictional amount
in controversy requirement, to be determined at trial for the violation of
Plaintiff's rights;

B. Punitive damages in an amount to be determined at trial for the Defendants’

willful, wanton, malicious, and reckless conduct;

C. Declaratory and injunctive relief against Cuyahoga County enjoining
unlawful policies, practices, and customs and ordering the institution of
policies, procedures, and training for the Cuyahoga County Correctional
Center to bring them into compliance with constitutional standards;

D. Attorneys’ fees and the costs of this action pursuant to law; and

E. All other relief which this Honorable Court deems equitable and just.

A JURY IS REQUESTED TO HEAR THIS MATTER.

Dated: February 7, 2020

Respectfully submitted,

/s/Jacqueline Greene
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